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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 1:11-CR-00269 AWI
                                             )
12                        Plaintiff,         )   STIPULATION AND ORDER FOR
                                             )   CONTINUANCE OF STATUS
13   v.                                      )   CONFERENCE
                                             )
14   MOHAMMAD MICHAEL ODEH, and              )
     NICOLE PEREZ,                           )
15                                           )
                          Defendants.        )
16                                           )
17         IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Mark Broughton, attorney for Mohammad Michael Odeh, and
20   Anthony Capozzi, attorney for Nicole Perez, that the status
21   conference set for October 11, 2011 be continued to December 12, 2011
22   at 9:00 a.m.    The parties need additional time for further
23   investigation and to engage in plea negotiations.          The case involves
24   extensive discovery, including reports and recordings of over 40
25   witness/defendant interviews.       Further investigation is also being
26   pursued.   The parties further request the Court to enter an Order
27   finding that the "ends of justice" served by a continuance outweigh
28   the interest of the public and the defendant in a speedy trial, and

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 1   that the delay occasioned by such continuance is excluded from the
 2   Act's time limits pursuant to 18 U.S.C. § 3161(h)(8)(A).
 3
     Dated: October 4, 2011                   Respectfully submitted,
 4
                                              BENJAMIN B. WAGNER
 5                                            United States Attorney
 6
                                       By      /s/ Kimberly A. Sanchez
 7                                            KIMBERLY A. SANCHEZ
                                              Assistant U.S. Attorney
 8
     Dated: October 4, 2011                   /s/ Mark Broughton
 9                                            MARK BROUGHTON
                                              Attorney for Mohammad Michael Odeh
10
11   Dated: October 4, 2011                   /s/ Anthony Capozzi
                                              ANTHONY CAPOZZI
12                                            Attorney for Nicole Perez
13
14
                                            ORDER
15
     IT IS SO ORDERED.
16
17   Dated:       October 5, 2011
     0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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